U.S. PROBATION OFFICE
Western District of North Carolina

Presentence Interview and Defendant Documentation

Rasheed Peter Burke 3:24—-cr—00012—RJC-SCR

Defendant Docket Number

Please note below if a presentence interview is requested.

(Presentence interviews will not be conducted for Illegal Reentry cases nor for defendants who
have previously had a federal presentence report completed.)

Yes, the defendant requests a presentence interview.
- No, the defendant does not want a presentence interview.

Within twenty-one (21) days following entry of a guilty plea or finding of guilt, you are
required to complete and submit to the U.S. Probation Office the following forms:

- Authorization to Release Information

- Personal and Family History form

- Declaration of Defendant or Offender Net Worth & Cash Flow Statements
- Acceptance of Responsibility form

The above forms can be accessed from the NCW U.S. Probation's website at

Www.ncwp.uscourts.gov
Presentence Investigation
Presentence Documents and Forms
Plea Forms

By signing below, defense counsel confirms the presentence interview preference and agrees to

provide all four (4) forms to the U.S. Probation Office within twenty—one (21) days of a guilty
plea or finding of guilt.

November 27, 2024

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Signature of Defense Counsel Date
